






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00705-CR








Adam Benavides, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 331ST JUDICIAL DISTRICT


NO. 3032528, HONORABLE BOB PERKINS, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Adam Benavides seeks to appeal from a judgment of conviction for sexual assault
of a child.  The trial court has certified, and the record confirms, that this is a plea bargain case and 
Benavides has no right of appeal.  See Tex. R. App. P. 25.2(a)(2).  The appeal is dismissed.  See id.
rule 25.2(d).



				__________________________________________

				Bob Pemberton, Justice

Before Chief Justice Law, Justices B. A. Smith and Pemberton

Dismissed for Want of Jurisdiction

Filed:   December 2, 2004

Do Not Publish


